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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

NEALAN BHATT, Individually and on
Behalf of All Others Similarly Situated,

       Plaintiff,

v.                                                                Case No: 8:17-cv-2185-T-36AEP

TECH DATA CORPORATION, ROBERT
M. DUTKOWSKY and CHARLES V.
DANNEWITZ,

      Defendants.
___________________________________/

                                             ORDER

       This matter comes before the Court upon the Motion of Movant Tech Data Investor Group

for Appointment as Lead Plaintiff and Approval of Its Selection of Counsel (Doc. 15), Motion and

Accompanying Memorandum of Law of Wayne County Employees’ Retirement System for

Appointment as Lead Plaintiff and Approval of Selection of Counsel (Doc. 16), Notice of Non-

Opposition of the Tech Data Investor Group to the Competing Motion for Appointment as Lead

Plaintiff (Doc. 26), and Notice of Non-Opposition of Wayne County Employees’ Retirement

System’s Motion for Appointment as Lead Plaintiff and Approval of Selection of Counsel (Doc.

27).

       Movants John R. Atkinson, III and Randye Hubsher (collectively "The Tech Data Investor

Group") and Wayne County Employees’ Retirement System (“Wayne County”) both requested

that the Court appoint them as Lead Plaintiff in this purported class action securities litigation. No

objection has been filed. The Tech Data Investor Group filed a notice indicating that it recognizes

that Wayne County has the largest financial interest in the relief sought by the class and therefore

benefits from the presumption of being the most adequate plaintiff. See Doc. 26. The Court, having
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considered the motions and being fully advised in the premises, will deny the Motion of Movant

Tech Data Investor Group for Appointment as Lead Plaintiff and Approval of Its Selection of

Counsel and grant the Motion and Accompanying Memorandum of Law of Wayne County

Employees’ Retirement System for Appointment as Lead Plaintiff and Approval of Selection of

Counsel.

           I.   BACKGROUND

       Defendant, Tech Data Corporation (“Tech Data”), is a wholesale distributor of technology

products. Doc. 1 at ¶ 14. The Complaint alleges that on June 1, 2017, Tech Data issued a press

release announcing its financial and operating results for the fiscal quarter ending April 30, 2017.

Id. at ¶ 16. Tech Data stated that it “executed well” throughout the first quarter and exceeded

expectations. Id. Specifically, Tech Data stated that it anticipated “non-GAAP” earnings per share

to be in the range of $1.95 to $2.08 for the quarter ending July 31, 2017. Id. The same day, during

a conference call to discuss Tech Data’s financial and operating results for the first fiscal quarter,

Tech Data’s CEO and co-defendant, Robert M. Dutkowsky, stated that he was “pleased to report

an excellent start to fiscal year 2018.” Id. at ¶ 17. During the same conference call, Tech Data’s

CFO and co-defendant, Charles V. Dannewitz, emphasized the recent Technology Solutions

business acquisition that was “making excellent progress” integrating into Tech Data. Id. at ¶ 18.

Dannewitz also re-emphasized that Tech Data was anticipating non-GAAP earnings per share to

be in the range of $1.95 to $2.08. Id. On August 31, 2017, Tech Data issued another press release

announcing its financial and operating results for the second fiscal quarter ending July 31, 2017.

Id. at ¶ 21. For the quarter, Tech Data’s reported “non-GAAP” earnings per share was $1.74. Id.

Upon release of the news, Tech Data’s share price fell $22.83 per share, from a closing price on

August 31, 2017, of $110.29 to $87.46 per share. Id. at ¶ 24.



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       On September 21, 2017, Plaintiff, Nealan Bhatt, filed this class action lawsuit against Tech

Data, Dutkowsky, and Mannewitz. The Complaint alleges that the Defendants made false and/or

misleading statements because (1) they misrepresented and failed to disclose that Tech Data was

experiencing execution and operational issues; (2) these issues were impacting the company’s

financial performance; (3) consequently, the company would not achieve its guidance; and (4)

therefore the Company’s financial statements were materially false and misleading at all relevant

times. Id. at ¶ 20. The Complaint alleges the Defendants violated federal securities laws including

the Securities Exchange Act of 1934, 15 U.S.C. §§ 78j(b), 78t(a); 17 C.F.R. § 240.10b-5.

       On September 25, 2017, notice about the class action was published in Globe Newswire, a

national, business-oriented newswire service, to give purported class members an opportunity to

move for appointment as lead plaintiff. Doc. 17-1. On November 24, 2015, Tech Data Investment

Group and Wayne County moved for appointment of lead plaintiff pursuant to 15 U.S.C. § 78u–

4(a)(3)(B)(i) of the Private Securities Litigation Reform Act of 1995 (“PSLRA”). Doc. 15; Doc.

16. In doing so, both requested that their respective choices in counsel be appointed lead counsel.

Doc. 15 at 2; Doc. 16 at 1. Tech Data Investment Group and Wayne County suffered $27,163 and

$35,790 in losses, respectively and purchased Tech Data’s stock on August 29, 30, and 31, during

the Class period. Doc. 15-4; Doc. 17-2.

        II.    LEGAL STANDARD

       The PSLRA provides for the appointment as lead plaintiff of “the member or members of

the purported plaintiff class that the court determines to be most capable of adequately representing

the interests of class members (hereafter in this paragraph referred to as the ‘most adequate

plaintiff’) in accordance with this subparagraph.” 15 U.S.C. § 78u–4 (a)(3)(B)(i). Even when a

motion for appointment as lead plaintiff is unopposed, the court must still make this determination



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on its own. 15 U.S.C. § 78u–4(a) (3)(B)(i); Biver v. Nicholas Fin., Inc., No. 8:14–cv–250–T–

33TGW, 2014 WL 1763211, at *2 (M.D. Fla. Apr. 30, 2014). The PSLRA directs the court to

adopt the rebuttable presumption that the most adequate plaintiff is “the person or group of

persons” that:

                 (aa) has either filed the complaint or made a motion [to serve as lead
                 plaintiff];

                 (bb) in the determination of the court, has the largest financial
                 interest in the relief sought by the class; and

                 (cc) otherwise satisfies the requirements of Rule 23 of the Federal
                 Rules of Civil Procedure.

15 U.S.C. § 78u–4(a)(3)(B)(iii)(I). This presumption may be rebutted by proof that the proposed

lead plaintiff “will not fairly and adequately protect the interests of the class” or “is subject to

unique defenses that render such plaintiff incapable of adequately representing the class.” Id. at §

78u–4(a)(3)(B) (iii)(II).

        III.     DISCUSSION

                    a. Notification Requirement

       In this case, the notification requirement has been met. The PSLRA required Bhatt, as the

Plaintiff, to publish “in a widely circulated national business-oriented publication or wire service,”

a notice advising members of the purported class of (1) the pendency of the action, the claims

asserted therein, and the purported class period and (2) their right to file a motion to serve as lead

plaintiff of the purported class. 15 U.S.C. § 78u–4 (a)(3)(A)(i)

       On September 25, 2017, Bhatt published a notice regarding the pendency of this action on

Globe Newswire, a national, business-oriented newswire service. See Doc. 17-1. The notice

adequately apprised members of the proposed class of their right to move the Court to serve as

lead plaintiff or plaintiffs no later than 60 days from the date of the publication. Id. Pursuant to 15


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U.S.C. § 78u–4 (a)(3)(A)(i), the time period in which purported class members had to move to be

appointed lead plaintiffs expired on November 25, 2017. Wayne County filed its motion on

November 24, 2017. Doc. 16. The motion was timely filed.

                    b. Selection of Lead Plaintiff

        Wayne County is “the most adequate plaintiff” and satisfies the requirements of the

PSLRA. It filed a motion for appointment as lead plaintiff. See 15 U.S.C. § 78u–

4(a)(3)(B)(iii)(I)(aa). Its estimated losses are approximately $35,790.38. Doc. 17-2. The Court has

no evidence that any other person has a larger financial interest in the case. See 15 U.S.C. § 78u–

4(a)(3)(B)(iii)(I)(bb).

        And Wayne County otherwise satisfies the requirements of Rule 23 of the Federal Rules

of Civil Procedure. Id. § 78u–4(a)(3)(B)(iii)(I)(aa). The PSLRA also allows for a rebuttable

presumption of adequacy when the proposed lead plaintiff demonstrates that it “otherwise satisfies

the requirements of Rule 23 of the Federal Rules of Civil Procedure.” See 15 U.S.C. § 78u–4

(a)(3)(B)(iii)(I)(cc).

        Rule 23(a) provides:

                One or more members of a class may sue or be sued as representative
                parties on behalf of all members only if:

                (1) the class is so numerous that joinder of all members is
                impracticable,

                (2) there are questions of law or fact common to the class,

                (3) the claims or defense of the representative parties are typical of
                the claims or defenses of the class, and

                (4) the representative parties will fairly and adequately protect the
                interests of the class.

Fed.R.Civ.P. 23(a).



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        Wayne County argues that only two of the four class action requirements—typicality and

adequacy—directly address the personal characteristics of the class representative. Doc. 16 at 6.

Therefore, Wayne County contends that in deciding a motion to serve as lead plaintiff, the Court

should limit its inquiry to the typicality and adequacy prongs of Rule 23(a), and defer examination

of the remaining requirements until the lead plaintiff moves for class certification. Id. The Court

agrees and will inquire only as to the typicality and adequacy prongs of Rule 23(a). See Vincelli v.

Natl. Home Health Care Corp., 112 F. Supp. 2d 1309, 1317 – 18 (M.D. Fla. 2000) (addressing

only the typicality and adequacy prongs and finding that the proposed lead plaintiffs adequately

demonstrated each prerequisite).

        In order to establish typicality, “there must be a nexus between the class representative’s

claims or defenses and the common questions of fact or law which unite the class.” Kornberg v.

Carnival Cruise Lines, Inc., 741 F.2d 1332, 1337 (11th Cir. 1984). “A sufficient nexus is

established if the claims or defenses of the class and the class representative arise from the same

event or pattern or practice and are based on the same legal theory.” Id. When the class

representative’s injury is different from that of the rest of the class, his claim is not typical and he

cannot serve as the class representative. Murray v. Auslander, 244 F.3d 807, 811 (11th Cir. 2001).

Moreover, when proof of the class representative’s claim would not necessarily prove the claims

of the proposed class members, the class representative does not satisfy the typicality requirement.

Brooks v. S. Bell Tel. & Tel. Co., 133 F.R.D. 54, 58 (S.D. Fla. 1990). “Typicality, however, does

not require identical claims or defenses.” Kornberg, 741 F.2d at 1337. “A factual variation will

not render a class representative’s claim atypical unless the factual position of the representative

markedly differs from that of other members of the class.” Id.




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       And the adequacy prong requires that the class representatives have common interests with

the nonrepresentative class members and requires that the representatives demonstrate that they

will vigorously prosecute the interests of the class through qualified counsel. Piazza v. Ebsco

Indus. Inc., 273 F.3d 1341, 1346 (11th Cir. 2001). Thus, the adequacy of representation analysis

involves two inquiries: “(1) whether any substantial conflicts of interest exist between the

representatives and the class, and (2) whether the representatives will adequately prosecute the

action.” Valley Drug Co. v. Geneva Pharm., Inc., 350 F.3d 1181, 1189 (11th Cir. 2003) (quoting

In re HealthSouth Corp. Sec. Litig., 213 F.R.D. 447, 460–61 (N.D. Ala. 2003)). “The existence of

minor conflicts alone will not defeat a party's claim to class certification.” Valley Drug Co., 350

F.3d at 1189. Rather, “the conflict must be a fundamental one going to the specific issues in

controversy.” Id.

       At this preliminary stage, Wayne County has sufficiently demonstrated that it meets the

typicality and adequacy prongs. The movant has satisfied the typicality requirement by: (1)

demonstrating that it held stock in Tech Data at the time the proposed transaction was announced,

as did the purported class members; (2) providing that it will suffer the same harm as the

prospective class members as a result of Defendants’ alleged misconduct; and (3) maintaining that

its claims and the claims of other prospective class members arise out of the same course of events

and are based on the same legal theories. See Doc. 17-3.

       And Wayne County has satisfied the adequacy prerequisite by providing that its interests

are clearly aligned with the members of the Class, and there is no evidence of any antagonism

between its interests and those of the other members of the Class. Id. Further, it has taken

significant steps that demonstrate that it will protect the interest of the Class, i.e., it has retained

competent and experienced counsel to prosecute these claims and shown the willingness and



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ability to vigorously prosecute the actions. At this preliminary stage, Wayne County has

sufficiently demonstrated the typicality and adequacy requirements of Rule 23(a).

       Wayne County is therefore entitled to the rebuttable presumption that it is the most

adequate plaintiff. Id. § 78u–4(a)(3)(B)(iii)(I). The Court has not been presented with any proof to

rebut the presumption. Therefore, the Court finds that Wayne County is the most capable of

adequately representing the interests of class members.

                   c. Selection of Lead Counsel

       The PSLRA also provides that the “most adequate plaintiff shall, subject to the approval

of the court, select and retain counsel to represent the class.” 15 U.S.C. § 78u–4(a)(3)(B)(v). Courts

have found that the district court “should generally employ a deferential standard in reviewing the

lead plaintiff's choices.” Oklahoma Firefighters Pension & Ret. Sys. v. Rayonier Adv. Materials,

Inc., 3:15-CV-546-J-32PDB, 2015 WL 4730383, at *2 (M.D. Fla. Aug. 10, 2015) (quoting In re

Cendant Corp. Litig., 264 F.3d 201, 274 (3d Cir. 2001)); see also Cohen v. U.S. Dist. Court for

the N. Dist. of Cal., 586 F.3d 703, 712 (9th Cir. 2009) (“[W]e hold that if the lead plaintiff has

made a reasonable choice of counsel, the district court should generally defer to that choice.”).

Robins Geller Rudman & Dowd LLP has substantial experience in securities class actions.

Therefore, the Court will approve Wayne County’s selection of the firm as lead counsel. See Doc.

17-4 at 5- 9.

        IV.     CONCLUSION

       Accordingly, it is hereby

       ORDERED:

       1.       Motion of Movant Tech Data Investor Group for Appointment as Lead Plaintiff

and Approval of Its Selection of Counsel (Doc. 15) is DENIED.



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       2.     Motion and Accompanying Memorandum of Law of Wayne County Employees’

Retirement System for Appointment as Lead Plaintiff and Approval of Selection of Counsel (Doc.

16) is GRANTED.

       3.     Wayne County Employees’ Retirement System is APPOINTED as Lead Plaintiff.

       4.     Robins Geller Rudman & Dowd LLP is APPROVED as lead counsel.

       DONE AND ORDERED in Tampa, Florida on December 28, 2017.




Copies to:
Counsel of Record and Unrepresented Parties, if any




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